                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION

                                        Case No. 5:22-cv-00050-M

 MADISON CAWTHORN,                                  )
                                                    )
             Plaintiff,                             )
                                                    )
 V.                                                 )                          ORDER
                                                    )
DAMON CIRCOSTA, in his official capacity            )
as Chair of the North Carolina State Board of       )
Elections,                                          )
STELLA ANDERSON, in her official capacity           )
as a member of the North Carolina State Board       )
                                                    )
of Elections,
                                                    )
JEFF CARMON, in his official capacity as a          )
member of the North Carolina State Board of         )
Elections,                                          )
STACY EGGERSIV, in his official capacity as         )
a member of the North Carolina State Board of       )
Elections,                                          )
                                                    )
TOMMY TUCKER, in his official capacity as
                                                    )
a member of the North Carolina State Board of       )
Elections,                                          )
KAREN BRINSON BELL, in her official                 )
capacity as the Executive Director of the North     )
Carolina State Board of Elections,                  )
                                                    )
                                                    )
             Defendants.

       This matter comes before the court sua sponte. Pursuant to its inherent authority to manage its

docket, the court finds it necessary to clarify the current procedural posture of this action. At the hearing

on March 4, 2022, the court reminded the parties that it "narrowed" the "oral argument" to a single

question and "everything else is preserved ... the pleadings are there. I understand them." Tr. 7: 15-18.

At the conclusion of the hearing, the court granted the Plaintiffs motion for injunctive relief with respect




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to Plaintiff's fourth claim for relief and denied the Defendant's motion to dismiss. Id. at 62: 25 - 63: 3.

Thus, consistent with its oral rulings and written order on the Plaintiff's fourth claim for relief, the

proceedings of this case are STAYED regarding the Plaintiff's remaining claims for relief pending

resolution of any appeals of the oral and written orders. This order is effective nunc pro tune to March

4, 2022.


       SO ORDERED this
                          .      ~day of March, 2022.
                              5 \J




                                           ?.LJ [ M,
                                              RICHARD E. MYERS II
                                                                              ~s     IL
                                              CHIEF UNITED STATES DISTRICT JUDGE




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